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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC,                      §            CASE NO.: 2:22-cv-02722-SDW-CLW
                                      §
      Plaintiff,                      §            PATENT CASE
                                      §
vs.                                   §
                                      §
EVENTDEX, LLC,                        §
                                      §
      Defendant.                      §
_____________________________________ §


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Scanning Technologies Innovations, LLC (“Plaintiff” and/or “STI”) files this

Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant Eventdex, LLC without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to

bear its own fees and costs.



Dated: July 13, 2022.                       Respectfully submitted,


                                            /s/ draft
                                            MARK KRIEGEL
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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true copy of the foregoing was filed
 electronically and served by operation of the Court’s electronic filing system on July 13, 2022.
 Parties may access the foregoing through the Court’s system.


                                             /s/ draft
                                             MARK KRIEGEL




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PREJUDICE                                                                                 PAGE | 2
